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Attorneys for Defendants

                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

SEBASTIAN E. LENTINI, QSC
ENTERPRISES, INC., QSC II, INC.,          Civil Action No. __________________
QSC III, INC., QSC IV, INC., TLC
ENTERPRISES, INC., and M&A
ENTERPRISES, INC.,                               NOTICE OF REMOVAL
                    Plaintiffs,
                                                Document filed electronically
vs.
MCDONALD’S USA, LLC; INGRID
RODRIGUEZ, MWAFFAK KANJEE,
MATHEW AJAYI, UNIDENTIFIED
CORPORATE ENTITIES A-Z and
JOHN DOES 1-10,

                   Defendants.


TO: THE HONORABLE JUDGES AND CLERK OF
    THE UNITED STATE DISTRICT COURT
    FOR THE DISTRICT OF NEW JERSEY

      PLEASE TAKE NOTICE that Defendants McDonald’s USA, LLC, Ingrid

Rodriguez, Mwaffak Kanjee and Mathew Ajayi (collectively, “Defendants”), by and

through its undersigned counsel, and pursuant to 28 U.S.C. § 1331, 1367, 1441 and

1446, file this Notice of Removal of the above-captioned action from the Superior

Court of New Jersey, Law Division, Hudson County, where it is currently pending,
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to the United States District Court for the District of New Jersey. As set forth below,

this Court has original subject matter jurisdiction over this matter because Plaintiffs

have asserted a claim that arises under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1962(c) (28 U.S.C. § 1331) and the other

claims in the case are so related to the RICO claim that they form part of the same

case or controversy (28 U.S.C. § 1367(a)). Pursuant to 28 U.S.C. § 1446(d), copies

of this Notice of Removal will be served upon Counsel for Plaintiffs and filed with

the Clerk of the New Jersey Superior Court, Law Division, Hudson County, as an

exhibit to the Notice of Filing of Notice of Removal that is filed with the Superior

Court of New Jersey in this action.

      In support of this removal, Defendants state as follows:

                      Proceedings In the State Court Action

      1.     On September 18, 2017, Plaintiffs commenced this action by filing a

Complaint in the Superior Court of New Jersey, Law Division, Hudson County,

Docket No. HUD-L-3840-17 (the “State Court Action”).

      2.     On December 13, 2018, Plaintiffs filed a Motion to Amend Complaint

(“Motion to Amend”) to assert, inter alia, a claim for violation of the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c), as well

as several state law claims.

      3.     On January 16, 2019, the state court granted the Motion to Amend, and


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the Amended Complaint was deemed filed as of that date. A true and correct copy

of the Amended Complaint is attached hereto as Exhibit 1.

      4.       A true and correct copy of the docket in the State Court Action is

attached hereto as Exhibit 2.

      5.       True and correct copies of all documents filed in the State Court Action

are attached hereto as Exhibit 3-68.

                            GROUNDS FOR REMOVAL

      6.       This case is removable to the United States District Court for the

District of New Jersey, pursuant to 28 U.S.C. § 1331, 1367, 1441, and 1446. This

Court has original subject matter jurisdiction over this case because Plaintiffs have

asserted a claim that arises under the laws of the United States and the other claims

in the case are so related to the federal claim that they form part of the same case or

controversy.

      C.       The Other Prerequisites for Removal Have Been Satisfied

      7.       In addition to satisfying the requirements of diversity jurisdiction,

Defendants have satisfied all other requirements for removal.

      8.       This Notice of Removal is timely filed because it was filed within thirty

days of the date the Motion to Amend was granted. D'Agostino v. Domino's Pizza,

2018 WL 1914239, at *2 (D.N.J. Apr. 23, 2018).

      9.       Removal to this Court is proper because this Court is “the district court


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of the United States for the district and division embracing the place where such

action is pending” which is the Superior Court of New Jersey, Law Division, Hudson

County. 28 U.S.C. § 1441(a).

      10.    In accordance with 28 U.S.C. § 1446(d), Defendants will promptly

serve a copy of this Notice of Removal on Plaintiffs’ counsel, and will file a Notice

of Filing this Notice of Removal with the Clerk of the Superior Court of New Jersey,

Law Division, Hudson County, in the State Court Action.

      11.    If any questions arise as to the propriety of the removal of this action,

Defendants respectfully request the opportunity to submit additional papers and to

present oral argument.

      WHEREFORE, Defendants hereby remove this action, which was

previously pending in the Superior Court of New Jersey, Law Division, Hudson

County, and bearing State Court Docket Number HUD-L-3840-17, to the United

States District Court for the District of New Jersey.

                                              Respectfully submitted,

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                                              973-360-7900

                                              By: s/Aaron Van Nostrand
                                              Aaron Van Nostrand
                                              Attorneys for Defendants

Dated: February 4, 2019

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